            Case 2:25-cr-00005-RAJ-DEM Document 7 Filed 12/20/24 Page 1 of 2 PageID# 15

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                                                                                                                                  Case No.                2 24MJ
                                     TAYLOR BULLARD                                                                 )
                                                                                                                    )



                                                                                           ARREST WARRANT
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                                                                                             TAYLOR BULLARD

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     Count One               i
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     18 U.3.C § 575(c) Sending Threatening Interstate Ccrnmunicaticns
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            Case 2:25-cr-00005-RAJ-DEM Document 7 Filed 12/20/24 Page 2 of 2 PageID# 16


AO 442 (Rev. 01/09) Arrest Warrant
                                                 SEALED                    ORIGI                    L
                                         United States District Court
                                                                 for the

                                                      Eastern District of Virginia

                      United States of America                     )
                                  V.                               )
                                                                   )        Case No.    2:24MJ
                          TAYLOR BULLARD                           )
                             Defendant                             )
                                                                                                                  i.


                                                     ARREST WARRANT                                               (Vj
                                                                                                                     o

                                                                                                                             , ● \
  o;       Any authorized law enforcement officer                                                                             .3




           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person lo he arrested)                        TAYLOR BULLARD
who is accused of an offense or violation based on the following document filed with the court:


□      Indictment          □ Superseding Indictment       □ Information        □ Superseding Information               sf Complaint
□      Probation Violation Petition        □ Supervised Release Violation Petition       □ Violation Notice            □ Order of the Court


This offense is briefly described as follows:

    Count One;
    18 U.S.C. § 875(c) Sending Threatening Interstate Communications




Date:      12/19/2024
                                                                                          Issuing officer's signature


City and state:          Norfolk, VA                                             Robert J. Krask, U.S. Magistrate Judge
                                                                                            Printed name and title



                                                                Return


           This warrant was received on (date)                         . and the person was arrested on (date)
at (city and state)


Date:
                                                                                         Arresting officer's signature



                                                                                            Printed name and title



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